Case 2:05-cv-02326-SHI\/|-dkv Document 5 Filed 08/26/05 Page 1 of 3 Page|D 4

 

IN THE UNITED STA'I'ES DISTRICT COURT ;nm EY__.. ..._...,._D$.
FOR THE WESTER_N DISTRICT OF‘ TENNESSEE
wESTERN DIVISION 05 AUGZ AH 6= 1414
Fri`)’vw'wt'@@n[l . ` [}
X G%lé§&ISTRFCTCOUT
O’NEAL DANDRIDGE, X 'M
X
Plaintiff, X
X
vs. X No. 05-2326-Ma/V
X
METHODIST, X
X
Defendants. X
X

 

ORDER OF DI SMI SSAL

 

Plaintiff O'Neal Dandridge filed a prg §§ complaint on
the form used for commencing actions pursuant to 42 U.S.C. § 1983
on May 3, 2005, along with a motion seeking leave to proceed in
fgrma pauperis. The Court issued an order on July 13, 2005 denying
leave to proceed in fg;ma pauperis and directing the plaintiff to
pay the $250 civil filing fee within thirty' days. The order
provided that “[f]ailure to timely comply with this order will
result in dismissal of this action, pursuant to Fed. R. Civ. P.
41(b), for failure to prosecute.” 07/13/2005 Order at 2.

The time set for compliance with the July 13, 2005 order
has expired, and plaintiff has not paid the civil filing fee or

otherwise responded to the order. Therefore, the Court DISMISSES

T::is document emered on the doc sh§gl com iance
with Fiu!e 58 and/0r79(a) FHCP on §_' ____ Q§

Case 2:05-cv-02326-SHI\/|-dkv Document 5 Filed 08/26/05 Page 2 of 3 Page|D 5

the action without prejudice, pursuant to Fed. R. Civ. P. 41(b),

for failure to prosecute.

IT Is so oRDE:RED this '>Q(‘\ day of August, 2005.

_jA(//’VL¢__

SAMUEL I-I. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

uNlTsTED`ATES DISTRCT C URT WESTER D"ISRICT oF TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02326 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

O'Neal Dandridge
3120 Alta Road
i\/lemphis7 TN 3 8109

Honorable Samuel Mays
US DISTRICT COURT

